Where a petition is subject to more than one construction as to the nature of the action. and by reason of the defendant's failure to require the plaintiff, by special demurrer, to elect which theory of action the plaintiff purposes to pursue, the plaintiff may recover under whichever theory is supported by the evidence — if the plaintiff fails to prove the case as laid under any theory, the court does not err. upon motion, in granting a nonsuit.
                         DECIDED MARCH 15. 1949. *Page 751 
Mrs. H. C. McDermid, Mrs. O. P. Goodman, Mrs. J. H. Edwards, and Mrs. E. L. Tanner, brought an action in the Civil Court of Fulton County against H.  V. Builders Incorporated, for an alleged breach of contract. The material allegations of the petition are substantially as follows: In April, 1944, the plaintiffs sold to the defendant certain lots in the City of Hapeville, and under the terms of this contract of sale it was provided: "parties of the first part [the plaintiffs] convenant and agree that as a consideration for the purchase of the above-described properties [the lots in question] that they will install at their own expense sewer and water, including stub to property line." The plaintiffs compiled with all the terms of the agreement and installed at their own expense "sewer and water, including stub to property line." At the time the plaintiff installed the said sewer and water it was necessary that water connections or tap-ins be made by the City of Hapeville to the lots purchased by the defendant. The water connections or tap-ins were made by the City of Hapeville, and the cost thereof, the sum of $750, was charged to the plaintiff because of the fact that they were installing said sewer and water, and the plaintiffs were required to pay the $750. The plaintiffs were not obligated under the contract of sale or otherwise to pay the cost of the said water connections or tap-ins, having agreed to pay only the cost of installing "sewer and water, including stub to property line." The charges for said water connections were incurred in connection with the installation of sewer and water, but were not contemplated by the parties at the time of the contract of sale. On or about April 29, 1944, at approximately the same time as the contract of sale between the plaintiffs and the defendant, the defendant entered into another contract with the City of Hapeville, and this latter contract was concerned with the property which was sold to the defendant by the plaintiffs, as well as other property. This contract between the defendant and the City of Hapeville provided in part: "Party of the second part [H.  V. Builders, Inc.] agrees to pay party of the first part [City of Hapeville] in advance $25 for sewer connection for each house, and $37.50 for water connections for each house, which *Page 752 
includes the price of necessary water meters, making a total of $3427.50 [sic, $3437.50?] for water and sewer connections for said fifty-five houses." Thirty of the total of fifty-five lots on which the fifty-five houses were to be built by the defendant under the contract had been developed out of the property sold the defendant by the plaintiffs; but at the time the contract was entered into between the City of Hapeville and the defendant, the plaintiffs had no interest whatsoever in the thirty lots, but did have a direct interest in the remaining twenty-five lots. Pursuant to the provisions and terms of the contract in question, as an evidence of good faith, and as an inducement to the City of Hapeville for the issuance of the building permits for the construction of the fifty-five houses in question, the total advance of $3427.50 [sic, $3437.50?] was made to the City of Hapeville on May 3, 1944. Of the total amount so paid, $1375 was paid by the plaintiffs, representing payment for fifty-five sewer connections at the rate of $25 each; and $2052.50 [sic, $2062.50?] was paid by the defendant, representing payment for fifty-five water connections at the rate of $37.50 each. Both of the advances required under the contract with the city were made at one and the same time, to wit, on or about May 3, 1944, upon the occasion of a meeting of the City Council of the City of Hapeville, at which time the agreement was put into effect and the necessary permits were issued by the city. John W. Venable, secretary of the defendant corporation, was present at the council meeting and made the payment for and in behalf of the defendant corporation, simultaneously with, and with full knowledge of the payment being made by the plaintiffs. Thepayments were made in the above manner as a result of a specificunderstanding and agreement between the parties at the timethereof, and this agreement was made as a matter of mutual convenience, and with full recognition on the part of all parties thereto that in thus making the payments in question, the defendant was disbursing funds for water connections for twenty-five lots in which it had no interest, and that the plaintiffs were disbursing funds for sewer connections for thirty lots in which they had no interest; and further with the full understanding and agreement that both the plaintiffs and the defendant would be entitled to and would actually receive refunds and credits of amounts thus paid at the *Page 753 
time these and other accounts between the parties were settled. Earnest Harrison, president of the corporation, and another agent of the corporation had full knowledge of the manner in which said payments were being made and of the agreement in connection therewith, and the same was done with his consent, permission, and approval. Subsequently the plaintiff did in fact refund the amount which had been paid by the defendant for the twenty-five water connections, but the refund was made by an agent of the plaintiffs who was not aware of the advance covering the thirty sewer connections, and no deduction of the amount paid therefor by the plaintiffs was made at that time. Thereafter the defendant proceeded to, and did, actually construct and erect houses on each of the thirty lots sold to it by the plaintiffs, and in connection therewith accepted and utilized to its exclusive benefit and advantage the privilege of connecting the plumbing from each of said thirty houses onto the stubs at the property lines, a privilege derived as a result of the payment by the plaintiffs of the required fees for the thirty sewer connections or tap-ins. Even though the sewer tap-in fees were a part of the expenses which should have been borne by the defendant in connection with the construction of the said thirty houses, it was not in fact at any time called upon or required to pay any consideration whatsoever over and above what had already been paid by the plaintiffs, and thus obtained, accepted, and utilized the entire benefit and advantage of such prior payment by the plaintiff with full knowledge, on the part of the aforesaid duly authorized agents of the corporation, of the amount, purpose, of the manner in which made, and of the understanding and agreement which gave rise to the making of the payment on the part of the plaintiffs.
When the plaintiffs had introduced all their evidence and rested their case, the court granted a nonsuit, to which judgment the plaintiffs now except.
The defendants filed no demurrers to the petition, and the petition is subject to more than one construction. Under one construction, the plaintiffs' action is for the *Page 754 
breach of an express oral contract under the terms of which the defendants were to advance the cost of all water connections for the fifty-five lots in the subdivision and the plaintiffs were to advance the cost of all sewer connections for the fifty-five lots, following which the plaintiffs were to reimburse the defendant for the cost of twenty-five of the water connections and the defendant was to reimburse the plaintiffs for the cost of thirty of the sewer connections. Under another construction of the petition, the action is in the nature of an implied assumpsit in that it is alleged that the defendant, with full knowledge of the facts, accepted and utilized to its exclusive benefit the advantage of connecting the plumbing from each of its thirty houses to the sewer when the plaintiffs had paid for the sewer connections or tap-ins. Therefore, since the allegations of the petition leave it uncertain as to which theory is being pursued by the plaintiffs, in the absence of a special demurrer pointing out this formal defect, the plaintiffs may recover under either theory if there is evidence to support such theory. Stoddard v. Campbell, 27 Ga. App. 363
(108 S.E. 311); Payton v. Gulf Line Ry. Co., 4 Ga. App. 762
(62 S.E. 469).
The documentary evidence introduced consisted of: the contract between the plaintiffs and the defendant covering the sale of the thirty lots by the plaintiffs to the defendant, this contract being dated, "this ____ of April, 1944," and signed by M. F. Brice as attorney in fact of the plaintiffs, and signed by Earnest Harrison, president, and J. W. Venable, secretary, on behalf of H.  V. Builders Inc.; the contract between the City of Hapeville and H.  V. Builders Inc., this contract being dated, "this the 29 day of April, 1944," and signed on behalf of the city by its mayor and city clerk and on behalf of H.  V. Builders Inc, by its president, Earnest Harrison, and its secretary, J. W. Venable, just above the signatures for H.  V. Builders Inc., the name, Lawton Miller, appearing, though Miller is not named in the contract as a party, a check drawn by M. F. Price in favor of A. Lawton Miller in the amount of $1375, and bearing a notation in the upper left-hand corner, "55 sewer taps Hapeville at $25.00," this check being dated "5/13--1944," and carrying Mr. Miller's indorsement, together with the stamp of the Atlanta Clearing House. There also appears a receipt of the City of Hapeville *Page 755 
to Lawton Miller for $1375 for "55 sewer taps." This receipt is dated "5-3-44." There is also a check drawn on the Happy Homes Inc., account in the Brice Banking Company, by Dewey D. Scarboro, secretary, in the amount of $1037.50, payable to Earnest Harrison, and bearing the notation, "refund to H.  V. Contractors." This check is dated July 12, 1944, and bears the indorsement of Earnest Harrison and the stamps of East Atlanta Bank and First National Bank of Atlanta.
M. F. Brice testified that he was the duly authorized representative of the plaintiffs to handle the transaction in dispute in this case. He identified the contract between the plaintiffs and the defendant, covering the sale of thirty lots to the defendant, and stated: "As to the circumstances surrounding this purchase and sale of property and what was outlined and what I undertook to do about the transaction after it occurred — we purchased the property in Hapeville, Georgia, and then it was apparent probably that we would build elsewhere, over in Buckhead; and H. and V. Builders were looking for a location, and we agreed to sell them thirty lots; they had thirty homes to build. . . At that time there was a good deal of hesitation about this kind [sic] of houses that were to be built, and there was a good bit of difficulty in getting permits from the City of Hapeville for building these houses; . . they [the City Council of Hapeville] agreed to issue permits, provided we would pay for the building permits, water taps and sewer taps in advance, and that was done, and I purchased the property; it was purchased from Mr. Lawton Miller, and he met with City Council. I don't know of my own knowledge what he did. I talked to him later, and he told me; I discussed the matter with him. I discussed it with the defendants about this same time; not on that date, I didn't. It was later discussed, about what was done at the Council meeting. . . I had already purchased this property from Mr. Lawton Miller at Hapeville. I was selling the defendant corporation these thirty lots on which they were to build thirty houses. Under the terms of this contract, in undertaking to prepare that property for them, we agreed that the streets, in line with the agreement we had with the City, in connection with the City and County too, streets and curbings would be put in, and water and sewers stubbed to the property *Page 756 
line. As to what I said before about the City of Hapeville — you had to enter into a contract for the work on the streets and sewers, and so forth, and they wanted the sewer taps and water meters and building permits paid in advance. That was a necessary requirement before we could start laying out the streets and curbing, and before they would enter into an agreement to participate in it. . . The City insisted on that agreement before they would let us go ahead; they insisted that this money be paid. That [contract] is between the City of Hapeville and Lawton Miller and H.  V. Builders. I had no part in that contract, I was not a party to it; I was working to take the lots over from Mr. Miller. But this contract [with the City] had to be signed before I could go ahead with my work. Subject to the provisions of this contract [with the City?] advances were made by me. An advance of $1375 was made for the sewer taps. I think that was all the advances that were made [by me?]. . . The reason there were fifty-five sewer taps instead of thirty for the lots I sold the defendant, was because there were fifty-five lots in the plot. I still had twenty-five lots left at that time and I paid for the entire fifty-five taps. The check you show me is the check I gave to Mr. Miller, refunding him the money, reimbursing him for his check, for payment as shown by this receipt you show me. At the time of these advances I made, advances were made by H.  V. Builders to the City under the terms of the contract. They advanced for the building permits and water connections for fifty-five lots; and I advanced for fifty-five sewer connections. I reimbursed H.  V. Builders for twenty-five water connections they paid for on my twenty-five lots. You ask why at the time of reimbursement by me to them [the defendant] they did not reimburse me for the thirty sewer connections. Well, Mr. Scarborough [sic] handled the matter, and it was all done before I knew anything about it; he had given the direction to cover the amount. He did not know all the facts. You ask me if Mr. Scarborough [sic] was acting for me or someone else. Well, Mr. Scarborough [sic] owned some stock in the company, and he had no active part in the building operations; but he said H.  V. Builders were very insistent on getting their money back, and that he paid them without asking what they owed us. . . I later made demand on *Page 757 
H. and V. Builders for reimbursement on this item, I wrote them about it. I don't remember the date I wrote them, but during the progress of the deal and program of construction. It was shortly after this contract was entered into that you have; sometime after the first of May. . . I never did have any conversation with either Mr. Harrison or Mr. Venable about when we would have a general accounting of what was due me and what was due them. I have never been reimbursed this $750 by anyone. Houses were later constructed on the thirty lots by H. and V. Builders. They were not required to pay City of Hapeville or anybody else anything additional for tapping into the sewer that was stubbed to the property line; I know that they were not, because it was all paid by me prior to that time."
Earnest Harrison was called as a witness by the plaintiffs for purposes of cross-examination, and testified in part as follows: "We signed an option with Mr. Lawton Miller for this property, and Mr. Miller went to these meetings, and I don't know how long he worked out there; I wasn't at any of the meetings and I don't know what they did; and he finally got them to okay it, so we could buy permits and water meters . . and he fixed this contract up himself, I understand Mr. Miller did; and Mr. Venable and myself went out there with him, and he told us that he had control of the lots, and while we could get those permits, it would be favorable for us to take them all, and he would get the other twenty-five houses to build; then we issued permits for the water meters, and permits just on the contract, and I called in my builder. In building any house or anything in the City, you have to deal with them direct; they will not accept anybody else's money. Both Mr. Venable and I knew how this transaction was being handled by Mr. Miller, and knew he was making arrangements with the City Council on these terms; but the agreement was . . just a signed agreement to get the permits and things before they changed their minds. You say, under this contract here, H. and V. Builders did advance the sum of $3427.50 [sic] [$3437.50?] for fifty-five water connections. We didn't issue any for that. We issued permits for meters at $37.50 apiece. We advanced money for all fifty-five of them. . . I didn't know anything about Mr. *Page 758 
Brice at that time. I hadn't contracted to buy but thirty lots. I wasn't interested in the other twenty-five. He [Miller?] said they were handled through him. I was interested later, but at that time I had no interest in them. Later on, Mr. Brice did not refund to me $37.50 for each of the twenty-five lots. I don't know whether Mr. Scarborough [sic] was acting for him or not. But I was reimbursed that amount for the twenty-five lots. I knew at that time Mr. Miller had advanced $1375 for fifty-five sewer connections; I was with him. . . H. and V. Builders did go ahead and build these thirty houses on the lots. . . I was never called upon by the City of Hapeville to pay again this $25 fee. You say we tapped into the sewer that had been stubbed to the property line. The plumber did; they [the plaintiffs?] had to take care of that. I imagine Mr. Brice had laid out the street and laid the sewer in and stubbed the sewer to the property line. You say we tapped in without additional charge. They [the plaintiffs?] tapped at the property line, which was supposed to be done. . . I had a contract with the plaintiffs where they agreed to pay at their expense the complete consideration of installation of sewer and water. I never did authorize Mr. Lawton Miller to advance money for me. . . The only time I ever had any agreement with Mr. Brice or any conversation with him was that this thing was completely closed through Mr. Miller."
We do not think that the foregoing evidence establishes a prima facie case under the theory that the action was one upon an express oral contract. It appears that both Mr. Miller and the defendant made advance payments to the City of Hapeville; Mr. Miller advanced $1375 for sewer tap-ins, and Mr. Brice, the attorney in fact of the plaintiffs, reimbursed Mr. Miller for this amount. It does not appear whether Mr. Miller's payment to the city was made by agreement with the defendant or not, but if it was so made, the evidence completely fails to show that Mr. Miller in making the agreement and payment did so in any capacity on behalf of the plaintiffs or under any duty to them, as their agent or otherwise.
Nor do we think that the evidence established a prima facie case under the construction that the action is based upon an implied assumpsit. There is evidence that Miller paid the *Page 759 
advances to the city for the sewer tap-ins, that he did so with the knowledge and consent of the defendant, and that the defendant did tap in on these sewers when they knew or should have known that they were not entitled to this privilege of tapping in on the sewers without payment to the city by someone. Nothing more appearing, this would have been such conduct as in equity and good conscience to require the defendant to make reimbursement to the proper parties. However, in the absence of a showing that Miller paid the money for the use of the plaintiff — and the burden was upon the plaintiffs to make this showing (Blake v. Corcoran, 211 Mass. 406, 97 N.E. 1002) — the plaintiffs failed to establish their case under the theory of an implied assumpsit. It does not appear from the evidence whether Miller made the payment for his, the defendant's, or the plaintiffs' benefit, and the fact that the plaintiffs reimbursed Miller does not alter the situation.
The court, therefore, did not err in granting the motion for a nonsuit.
Judgment affirmed. Gardner and Townsend, JJ., concur.